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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO. 21-cv-60024- DIMITROULEAS/SNOW

  MONIQUE P. HARRELL,

         Plaintiff,

  vs.

  CREDENCE RESOURCE MANAGEMENT,
  LLC,

         Defendant.
                                                /

                                    ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court sua sponte.

         On April 13, 2021, this Court entered its Scheduling Order, which required the parties to

  submit appropriate dismissal papers within ten (10) calendar days of notifying the Court that the

  case has settled. See [DE 10]. On October 15, 2021, a Notice of Settlement was filed, stating that

  the parties would file a stipulation of dismissal with prejudice within 60 days. See [DE 16].

  However, as of the date of this Order, a stipulation, notice, or motion for dismissal has not been

  filed with the Court.

         Accordingly, it is ORDERED AND ADJUDGED that no later than December 22,

  2021, the parties shall either file the appropriate dismissal papers or show cause why those

  papers have not been filed.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 15th day of December, 2021.
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  Copies furnished to:
  Counsel of record
